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               IN THE UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF ARKANSAS
                        WESTERN DIVISION


P.S. PRODUCTS, INC., and
BILLY PENNINGTON, individually                                     PLAINTIFFS

v.                                No. 4:12-cv-537-DPM

SMART STUFF                                                      DEFENDANT

                                        ORDER

     This case has settled. Though plaintiffs need only provide notice of

dismissal, FED. R. CIV. P. 41(a)(l), their motion to dismiss, Document No.5, is

granted.     FED.   R.   CIV.   P. 41(a)(2). The complaint is dismissed without

prejudice.

     So Ordered.

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                                              D.P. Marshall Jr.
                                              United States District Judge
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